               Case 22-10584-CTG              Doc 1023        Filed 11/01/23        Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )    Chapter 11
                                                          )
    FIRST GUARANTY MORTGAGE                               )    Case No. 22-10584 (CTG)
    CORPORATION, et al.,1                                 )
                                                          )    (Jointly Administered)
                            Debtors.                      )
                                                          )

      SECOND AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
     HEARING ON NOVEMBER 2, 2023 AT 1:00 P.M. (PREVAILING EASTERN TIME)
          BEFORE THE HONORABLE CRAIG T. GOLDBLATT IN THE U.S.
               BANKRUPTCY COURT, 824 NORTH MARKET STREET,
           3rd FLOOR, COURTROOM 7, WILMINGTON, DELAWARE 19801



    This hearing will be conducted in-person. All parties, including witnesses, are expected to
      attend in person unless permitted to appear via Zoom. Participation at the in-person
    court proceeding using Zoom is allowed only in the following circumstances: counsel for
      a party or a pro se litigant that files a responsive pleading and intends to make only a
      limited argument; (ii) a party or a representative of a party that has not submitted a
    pleading but is interested in observing the hearing; (iii) any party that is proceeding, in a
        claims allowance dispute, on a pro se basis; or (iv) extenuating circumstances that
     warrant remote participation as may be determined by the Court. All participants over
        Zoom must register in advance. Please register by November 1, 2023 at 4:00 p.m.

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.

                      Please use the following link to register for this hearing:

             https://debuscourts.zoomgov.com/meeting/register/vJIsf-2orTkuHBiS-
                                    01aheTxFhfsZ0MPk20

        After registering your appearance by Zoom, you will receive a confirmation email
                        containing information about joining the hearing.



1 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location
  of the corporate headquarters and the service address for First Guaranty Mortgage Corporation is 13901 Midway
  Road, Suite 102-334, Dallas, TX 75244.
2  This agenda has been amended to reflect the changed courtroom location. Amended Items appear in Bold.
               Case 22-10584-CTG        Doc 1023     Filed 11/01/23    Page 2 of 3




I.      MATTER GOING FORWARD

1.      Motion of the PIMCO Parties for Contempt for Violations of the Court’s Enforcement
        Order and Confirmation Order (Filed October 5, 2023) [Docket No. 988]

        Response Deadline: October 19, 2023 at 4:00 p.m. Reply deadline extended with
        permission of the Court to October 31, 2023 at 11:00 a.m.

        Responses Received:

        A.       Objection to the Motion of the PIMCO Parties for Contempt for Violations of the
                 Court’s Enforcement Order and Confirmation Order (Filed October 19, 2023)
                 [Docket No. 998]

        Related Documents:

        A.       Notice of Rescheduled Hearing Order (Filed October 30, 2023) [Docket No.
                 1015]

        B.       The PIMCO Parties’ Exhibit List for the November 2, 2023 Hearing on their
                 Motion for Contempt (Filed October 31, 2023) [Docket No. 1018]

        C.       Exhibit List of Kari Crutcher for the Hearing on November 2, 2023 (Filed
                 October 31, 2023) [Docket No. 1021]

        Replies:

        A.         Reply of the PIMCO Parties for Contempt for Violations of the Court’s
                   Enforcement Order and Confirmation Order (Filed October 31, 2023) [Docket
                   No. 1017]

        Status: This matter will go forward.




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               Case 22-10584-CTG   Doc 1023      Filed 11/01/23   Page 3 of 3




  Dated: November 1, 2023               PACHULSKI STANG ZIEHL & JONES LLP


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